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                   EXHIBIT A
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                       THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION
____________________________________
JOHN BARNHARDT, et al.,                )
                                       )
            Plaintiffs,                )
                                       )
      and                              )
                                       )
UNITED STATES OF AMERICA,              )    Civil Action No. 4:65-cv-01300-HTW-LRA
                                       )    1300(E)
            Plaintiff-Intervenor,      )
                                       )
      v.                               )
                                       )
MERIDIAN MUNICIPAL SEPARATE            )
SCHOOL DISTRICT, et al.,               )
                                       )
            Defendants.                )
____________________________________)

                                 SETTLEMENT AGREEMENT

       Plaintiffs John Barnhardt, et al. (“Private Plaintiffs”) and Defendants Meridian Public

School District, et al. (“the District”) respectfully submit this Settlement Agreement. The Parties

jointly agree and stipulate that entry of this Settlement Agreement, subject to the approval of the

Court, is in the public interest. The Parties further agree and stipulate that this Settlement

Agreement will support a finding that the District has complied with the letter and spirit of the

desegregation orders and applicable law, eliminated the vestiges of past discrimination to the

extent practicable, and achieved unitary status.

       Pursuant to Federal Rule of Civil Procedure 23(e), all Parties jointly stipulate to dismissal

of this action with prejudice, contingent upon approval of the terms of this Settlement Agreement

by the Court and incorporation of the terms of this Settlement Agreement into the Court’s order

dismissing the case. The Parties further agree that this Court shall retain ancillary jurisdiction

solely over any new action to enforce this Settlement Agreement.
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I.     Remedial Measures

       A.      Student Assignment

               i.      Gifted Program (“MPSD Explore”)

       1.      As soon as practicable, the District will contact the Equity Assistance Center-

South of the Intercultural Development Research Association (“IDRA EAC”) to obtain technical

assistance on best practices for ensuring that all students have an equitable opportunity to

participate in the Gifted Program. If IDRA EAC is available and able to provide assistance, the

District will work with the IDRA EAC to determine the appropriate technical assistance.

       2.      The District will examine the racial differences in selection and enrollment rates

in the District’s Gifted Program. As part of this analysis, the District will evaluate whether the

State of Mississippi provides for an alternative universal screening test that it can employ at the

first step of its current gifted identification process in an effort to improve participation of Black

students in the program.

       3.      The District currently screens all students for its Gifted Program by administering

a selection test universally to all first-graders. The District will implement a second universal

screening test at the beginning of third grade, assuming that it may do so without securing prior

approval from the Mississippi Department of Education. If the District must seek approval from

the Mississippi Department of Education to implement a second universal screening test, the

District will seek that approval and, assuming the Mississippi Department of Education approves

this measure, the District will implement a second universal screening test at the beginning of

third grade.

       4.      The District will require that all teachers at the elementary level complete a

training workshop on how to recognize intellectual giftedness despite cultural, linguistic, and



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economic differences that may mask a student’s true abilities. The District will also require that

all members of its Gifted Local School Committee (“LSC”) participate in the same or a similar

training to promote opportunities for Black students in the District’s Gifted Program.

       5.      The District will evaluate its outreach to Black students and parents and will

actively and intentionally engage Black students and their parents and guardians, including

through parent meetings, to provide further information about the benefits and long-term

supports of the Gifted Program.

       6.      The District’s outreach will include publication of the program, including how

students may be referred for Gifted testing. Upon publication, the District will provide a copy of

its initial publication for the 2019-2020 school year to the Private Plaintiffs.

       7.      The District’s outreach plan will also be incorporated into faculty and staff

meetings and professional development. Such professional development will include how to

identify and encourage Black students to pursue enrollment in the Gifted Program and how to

describe the long-term benefits of the Gifted Program.

       8.      The District will devise a plan to monitor data about the Gifted Program each

semester during each school year to ensure that the Gifted Program is being administered fairly

and without regard to race. This shall include collecting and reviewing data from each school

about the numbers of students, disaggregated by race and gender, who are referred for the Gifted

Program and the number who are enrolled in the Gifted Program. These data will be utilized by

the District as part of its over-all strategy to promote Gifted opportunities for all students

regardless of race.




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                ii.     Magnet Program

        9.      As soon as practicable, the District shall contact IDRA EAC for technical

assistance in assessing the feasibility of developing a magnet program.

        10.     With the assistance of IDRA EAC, the District shall study the feasibility of

establishing a magnet school in the District. As part of this feasibility study, the District shall

conduct a community survey to determine, among other things, what magnet theme would be

most attractive to the community.

        B.      Faculty Assignment

        11.     As soon as practicable, the District shall contact IDRA EAC for technical

assistance to build the District’s capacity to effectively recruit, hire, assign, and retain racially

diverse faculty and certified staff.

        12.     Minority Recruitment Plan: The District will seek technical assistance from IDRA

EAC to develop a minority recruitment plan.

        13.     “Grow Your Own” Program: As part of its Minority Recruitment Plan,

the District will continue to develop a robust, exciting, and social justice-oriented district-based

“Grow Your Own” program to help recruit Black students and others into the teaching field. The

District will explore opportunities to partner with a college or university to offer dual enrollment

classes to garner college credit in the program. The District shall include its “Grow Your Own”

program in its request for technical assistance regarding faculty recruitment and hiring.

        14.     The District’s “Grow Your Own” program shall include, at minimum, the

development of local programs to identify and support local high school, college, and university

students to encourage and engage them about teaching careers, and (for college and university

students) to explore and promote opportunities for teaching in the District and to support



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interested students in pursuing certification. The District will also encourage and, to the extent

allowable, provide support for non-certificated staff (e.g., paraprofessionals) who are interested

in pursuing certification.

        15.     As part of its review, the District shall examine, and if appropriate, revise its

policies regarding publication of vacancy announcements and advertisements.

        16.     Voluntary Reassignment: The District will evaluate and explore opportunities for

voluntary reassignment of teachers and other professionals to improve racial diversity at

particular schools.

        17.     College and University Partnerships: The District will work to expand and

improve partnerships with colleges and universities, including Historically Black Colleges and

Universities (“HBCUs”), for establishing teaching internships and conducting outreach to

prospective students.

        18.     Teacher Retention Plan: The District will seek technical assistance from IDRA

EAC to address teacher retention. The District will also consider refinements to its mentoring

plan for first- and second-year teachers.

        C.      Facilities

        19.     The Parties agree that the District has satisfied the requirements to be declared

unitary with regard to its facilities.

        D.      Transportation

        20.     The Parties agree that the District has satisfied the requirements to be declared

unitary with regard to its transportation routes.




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        E.      Extracurricular Activities

        21.     The Parties agree that the District has satisfied the requirement to be declared

unitary with regard to its extracurricular activities.

        F.      2013 Consent Order

        22.     Without admitting liability, and in the spirit of collaborating to achieve the best

possible educational outcomes for students, the Parties agree to implement the following

measures regarding student discipline and law enforcement.

                i.      Discipline

        23.     The District shall seek technical assistance from IDRA EAC on restorative

practices in schools. With the support of IDRA EAC, the District will (a) explore opportunities

to incorporate restorative practices, including but not limited to fostering skills to resolve

conflicts and involving students in resolving problems with the goal of keeping students in the

classroom to the maximum extent consistent with effective instruction, and (b) develop and

implement a professional development plan for school-based staff plans covering the school-

wide implementation of restorative practices to improve school climate.

        24.     The District will survey teachers and stakeholders to assess school climate

regarding discipline and the possible efficacy of restorative practices in order to determine

whether and where additional support can be provided.

        25.     As part of its review of strategies to incorporate restorative practices, the District

will:

        a.      Revise, as necessary, discipline referral and documentation forms to provide

                space for school personnel to note restorative justice approaches; and,




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        b.        Develop and implement a plan to inform parents/guardians about the District’s

                  plan for restorative practices.

                  ii.     Law Enforcement Provisions

        26.       Private Plaintiffs and the District have agreed upon proposed revisions to the

Meridian Public School District Campus Police Department’s (“CPD”) policies and procedures

manual on [Date]. The District shall submit the revised policies and procedures manual within

30 days for approval by the District’s Board of Trustees.

        27.       The District will ensure that all CPD officers receive adequate training to

understand: (a) how to police in accordance with CPD’s policies and procedures; and, (b) the

requirements of this Settlement Agreement, Mississippi law, and the Constitution and laws of the

United States. CPD trainings will reflect the objectives the District has committed to and which

are reflected in the CPD’s policies and procedures, including Policy 3.03. As soon as practicable

or within 60 days of the entry of this Settlement Agreement, the District will conduct an implicit-

bias training for CPD officers by a non-District and/or District employee instructor who is

qualified to facilitate implicit-bias trainings.

        28.       Consistent with Policy 3.03, the District agrees to assign a CPD Training

Resource Officer. The CPS Training Resource Officer’s duties and responsibilities are outlined

in Policy 3.03.

        29.       As soon as practicable or within 60 days of entry of this Settlement Agreement,

the District will conduct trainings for all CPD officers on the CPD’s revised policies and

procedures manual.




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II.     Information Sharing

        30.     The District will share the following information with the Private Plaintiffs (a)

within 60 days of entry of this Settlement Agreement, (b) one year after entry of this Settlement

Agreement, and (c) eighteen months after entry of this Settlement Agreement:

           i.   Demographic data of student body;

          ii.   Disaggregated discipline data that will include the following information for each

                disciplinary incident since the last report: a unique student identifier; race of the

                student; sex of the student; grade level; infraction; level of infraction; number of

                prior infractions for the student; date the incident occurred; description of the

                incident; consequence; any restorative justice practice employed at any point in

                response to the incident;

         iii.   Gifted Data, including: data from each school about the number of students,

                disaggregated by race and gender who are referred for and are enrolled in the

                Gifted Program;

         iv.    Faculty Data, including: demographic data on the faculty at each school,

                disaggregated by race and gender, and; demographic data on new faculty hires for

                that school year, disaggregated by race and gender;

          v.    Law Enforcement Data that will include (a) number of school-based arrests,

                disaggregated by race and gender, and (b) number of use of force incidents

                reported under CPD Policy 5.01, disaggregated by race and gender.

        31.     The Parties agree that the data shared by the District are for informational




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purposes only and not for the purpose of evaluating particular outcomes. The Parties expressly

agree that the data shared by the District will not be used to evaluate the District’s compliance

with the terms of this Settlement Agreement.



       SO ORDERED, this ___ day of ______________, 2019.




                                               Honorable Henry T. Wingate,
                                               UNITED STATES DISTRICT COURT JUDGE




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